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                                        UNITED STATES DISTRICT COURT
                                       CENTRAL DISTRICT OF CALIFORNIA
                                                                    CASE NUMBER



                                                     Plaintiff(s)
                              v.
                                                                    APPLICATION FOR WRIT OF HABEAS CORPUS

                                                                      AD PROSEQUENDUM              AD TESTIFICANDUM
                                                  Defendant(s).


The undersigned Assistant United States Attorney  other attorney hereby applies to the Court for the
issuance of a Writ of Habeas Corpus Ad Prosequendum Ad Testificandum for:

Name of Detainee:
             Alias:
BOP/Booking No:
      Detained by:          Warden
                            Other
         Detained at:
                                                  (Specify name and location of detention facility)

Detainee is requested for the following reasons:

Appearance is necessary on                                            at                              before the Honorable
                                                                      Judge/Magistrate Judge.
Location:          U.S. District Court
                                                                      (Court Address)
                   Other
                                                    (Place and Address of Place)
I have contacted the institution (if detainee is not in federal custody) and have been advised that said detainee is free and able
to be present during the entire duration of this matter.

I understand that it is my responsibility to provide the U.S. Marshal with four (4) originals of the Writ and any associated fees.

I also understand that it is my responsibility to notify the U.S. Marshal when the presence of said detainee is no longer
required and said detainee can be returned to the original custodian.


Dated:
                                                                      Signature of attorney

An ORDER ON APPLICATION FOR WRIT OF HABEAS CORPUS (G-09 ORDER) MUST be submitted along with this Application for
Writ of Habeas Corpus Ad Prosequendum/Ad Testificandum.

G-09 (10/06)      APPLICATION FOR WRIT OF HABEAS CORPUS AD PROSEQUENDUM / AD TESTIFICANDUM
